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In The
United States District Court
Northern District of

Florida
ANDREW WARREN, ) Number:
PLAINTIFF, ) 4:22-cv-00302-RH-MAF
Vv. )
RONALD DESANTIS, ET AL, )
DEFENDANTS. )

Certificate of Readiness

NOW COMES, Scott Huminski (“Huminski”), and certifies readiness. There have been no
hearings nor transcripts available in this matter related to Huminski’s intervention and the order
denying intervention nor the clerk’s refusal to docket the 9/10/2022 motion for rehearing /

reconsideration. The primary order under appeal is the order of 9/2/2022 denying intervention.

The clerk should forward in the record any documents regarding the decision of the clerk
to discard and not file Huminski’s Motion for Reconsideration / rehearing received by the Court
on 9/14/2022 via USPS and then hand-delivered and file stamped on 9/19/2022. The clerk’s
office discarding of court filings is a subject of the appeal.

Dated at Miami, Florida this 27" day of September, 2022.

-/S/- Scott Huminski

 

 

 

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Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

Dated this 27" day of September, 2022.

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SEP 27°22 and:

 
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-/s/- Scott Huminski

 

Scott Huminski

 

 

 
